893 F.2d 1334
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Loyal A. BURKHART, Plaintiff-Appellant,v.SECRETARY, HEALTH AND HUMAN SERVICES, Defendant-Appellee.
    No. 89-1237.
    United States Court of Appeals, Sixth Circuit.
    Jan. 22, 1990.
    
      Before KRUPANSKY and DAVID A. NELSON, Circuit Judges, and JOHN W. PECK, Senior Circuit Judge.
      PER CURIAM.
    
    
      1
      Plaintiff-Appellant, Loyal A. Burkhart (Burkhart), has appealed from the decision of the district court granting summary judgment in favor of the Secretary of Health and Human Services (Secretary), denying Burkhart's application for disability insurance benefits.  Upon review of the claimant's assignments of error, the record in its entirety, and the briefs of the parties, this court concludes that the Secretary's denial of disability is supported by substantial evidence.
    
    
      2
      Accordingly, the summary judgment in favor of the Secretary is AFFIRMED for the reasons stated in the Magistrate's Report of September 18, 1988 as adopted by the district court on December 28, 1988.
    
    